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            Exhibit F
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Reg. No. 2,315,363          Board of Trustees of the University of Illinois (ILLINOIS body politic and corporate )
                            352 Henry Administration Building
Registered Feb. 08, 2000    506 South Wright Street
                            Urbana, ILLINOIS 61801
Amended Sep. 08, 2020       CLASS 25: Clothing, namely, Aprons, adult and children's jackets, and vests, men's shirts,
                            sport shirts, ties, night shirts, Ladies' tops, adult and children's jerseys, caps, sport caps, visor
Int. Cl.: 25, 28, 41        caps, ski caps, scarves, sweaters, ponchos, gloves, mittens, golf sweaters, ladies' and men's
                            and children's t-shirts, baseball shirts, football shirts, football-style jerseys, ladies' and mens's
Service Mark                shorts, socks, adult and children's warm-up suits, baby sleepers, baby shirts, western hats,
                            tennis hats, wrist-bands and sweatbands
Trademark
                            FIRST USE 12-13-1994; IN COMMERCE 12-13-1994
Principal Register
                            CLASS 28: Toy flying discs, basketballs, foam basketballs, footballs, foam footballs, stuffed
                            toy animals, dolls, golf bags, golf head covers, golf balls, christmas tree ornaments and
                            christmas stockings

                            FIRST USE 12-13-1994; IN COMMERCE 12-13-1994

                            CLASS 41: Educational services namely, conducting collegiate athletic exhibitions and
                            games

                            FIRST USE 12-13-1994; IN COMMERCE 12-13-1994

                            The color(s) orange and blue is/are claimed as a feature of the mark.

                            The mark consists of the block letter 'I' in orange and outlined in blue.

                            SER. NO. 75-415,479, FILED 01-08-1998
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   REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
       DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
      and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
       the registration will continue in force for the remainder of the ten-year period, calculated from the
       registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
      an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
       §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property
Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
Forms available at http://www.uspto.gov.




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